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                                          No. 21-1897




                        United States Court of Appeals
                                             for the
                                    Fourth Circuit
                                   _______________________
                        FAUSTINO SANCHEZ CARRERA; JESUS DAVID MURO;
                                   MAGDALENO GERVACIO,
                                         Appellees,

                                              -v.-
                             E.M.D. SALES INC.; ELDA M. DEVARIE,
                                         Appellants.
                                 _______________________
                         On Appeal from the United States District Court
                              for the Northern District of Maryland
                        _________________________________________

                               REPLY BRIEF OF APPELLEES
                        __________________________________________


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                                         INTRODUCTION

              Appellants do not dispute that in Chao v. Self Pride, this Court articulated the

        standard for when an employer’s conduct transcends negligence and becomes

        reckless, giving rise to a willful violation of the FLSA. See Appellees’ Brief at 28-

        29, Doc. 28; 232 Fed. App’x. 280 (4th Cir. 2007). Appellants also admit that Devarie

        had knowledge of the general requirements of FLSA’s overtime provisions, the

        outside salesman exemption, and that FLSA applied to her business. Doc 28 at 30.

        The question for this Court is whether the Trial Court erred by failing to make a

        factual finding about whether Devarie’s undisputed knowledge of the FLSA

        generally was sufficient to meet the first element of the willfulness test in Chao. See

        generally Doc. 28 at 26-32. Appellants do not directly address this issue and instead

        argue that Devarie’s knowledge was not enough to meet the notice requirement in

        Chao because all that Devarie knew was that the FLSA was “in the picture.” Doc.

        28 at 27-30.

              Appellants also argue that because the trial court made a finding of fact on

        willfulness (that Devarie was “credibility uninformed” about the FLSA), that finding

        is unassailable absent a showing of clear error. Doc. 28 at 26. Both arguments fail.

        The undisputed record at the Trial Court established Devarie knew far more than just

        that the FLSA was “in the picture.” To the contrary, Devarie knew for decades that

        the FLSA applied to her business; she knew precisely which FLSA exemption could


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        apply to Appellees; and Devarie knew that the applicability of the exemption turned

        on a fact-intensive inquiry which required scrutinizing the employees’ duties and the

        time they spent performing them because the employee handbook she approved

        stated as much (A638:4-9, A643:2-6, A646:8-12, A657:18-25, A665:14-25,

        A666:1-15, A667:3-17, A1246, A1253) and she knew that those duties changed as

        EMD grew because it began to service primarily chain, not independent, stores.

        (A1597, A1606, A641:21-25, A642:1-8, A641:16-25; A642:1-8, A659:23-25;

        A660:1-6, A1024-1071, A662:9-15). As to the standard of review, this Court should

        apply de novo review since here because the question of whether Appellants acted

        willfully is a mixed question of fact and law, and Appellees’ appeal concerns a

        primarily legal, not factual issue. Accordingly, this Court must reverse the Trial

        Court’s finding on willfulness and remand this matter to the Trial Court to make a

        finding as the first element of the Chao test – notice of the FLSA.

                                           ARGUMENT
        I.    WILLFULNESS IS A MIXED QUESTION OF LAW AND FACT AND
              THE STANDARD OF REVIEW IN THIS CASE IS DE NOVO
              BECAUSE THE CHALLENGED ISSUE IS PRIMARILY LEGAL,
              NOT FACTUAL

              Appellants also argue that willfulness is always a question of fact, which can

        never be subject to de novo review, and that the Trial Court’s ruling can only be

        disturbed if Appellees show its factual findings were clearly erroneous. Doc. 28 at

        26-27. In support, Appellants cite two Fourth Circuit cases for the proposition that

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        willfulness is always a question of fact. See Geico v. Calderon, 809 F.3d 111, 130

        (4th Cir. 2015); Martin v. Deiriggi, 985 F.2d 129, 136 (4th Cir. 1993). However, the

        holdings in Geico and Martin are entirely consistent with Appellees’ position that

        willfulness, under the circumstances present in this case, is properly viewed as a

        mixed question of law and fact and that the applicable standard of review depends

        on whether the error claimed is primarily factual or legal. In this case, the issue is

        largely a legal one, thus de novo review should apply.

              First, as Appellees pointed out in their brief-in-chief, the 1st, 9th, 10th, and

        11th Circuits all consider willfulness a mixed question of law and fact which on

        appeal is reviewed de novo. Doc. 25-1 at 14. Appellants do not address this body of

        case law, or its impact on the Court’s review in this case. Indeed, while not referring

        to willfulness specifically, the Supreme Court has stated that statutory issues arising

        under the FLSA “typically involve mixed questions of fact and law.” Barrentine v.

        Ark.-Best Freight Sys., 450 U.S. 728, 729 (1981). “[A] question of fact is one that

        can be answered with little or no reference to law, and a question of law is one that

        can be answered with little or no reference to fact.” In re Tri-State Equip., Inc., 792

        F.2d 967, 970 (10th Cir. 1986). Mixed questions “lie in between,” and involve

        situations where, as here, the facts are largely undisputed and the only matter at issue

        is whether the facts meet the statutory standard. Id. The willfulness issue in this case




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        is a mixed question of law and fact because Devarie’s level of knowledge about the

        FLSA is not in dispute and is established through her own testimony.

              Appellees also pointed out in their brief that the standard of review for a mixed

        question depends on whether the challenged issue is primarily legal or factual. Doc.

        25-1 at 14. The Supreme Court has held that “the standard of review for a mixed

        question all depends on whether answering it entails primarily legal or factual

        work." U.S. Bank Nat'l Ass'n v. Vill. at Lakeridge, LLC, 138 S. Ct. 960, 962

        (2018). An appellate court should apply de novo review when the question

        "require[s] courts to expound on the law,     . . . by amplifying or elaborating on a

        broad legal standard" and "developing auxiliary legal principles of use in other

        cases." Id. But deference is appropriate when a question requires "immers[ion] . . .

        in case-specific factual issues" involving "multifarious, fleeting, special, narrow

        facts that utterly resist generalization." Id. Here, the issue is primarily legal, not

        factual, because Devarie admitted to longstanding general knowledge of the FLSA’s

        overtime requirements and a specific knowledge of the outside sales exemption. She

        also admitted that she failed to conduct even a rudimentary investigation of

        Appellees’ duties and responsibilities. The Trial Court was then required, under the

        standard in Chao v. Self Pride, to decide whether Devarie had knowledge of the

        general requirements of the FLSA, and whether, given those facts, Appellants chose

        to remain ignorant of the legal requirements of FLSA or deliberately disobey them.


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        Chao, 232 F. App’x at 286-87. Appellees’ position is the Trial Court never made the

        requisite finding at all, which is a purely legal issue, making de novo review the

        appropriate standard.

              The conclusion reached by the Court in Martin v. Deiriggi, that willfulness

        was (in that case) a question of fact, is entirely consistent with Appellees’ argument

        above. In Martin, the appellants took “issue with many of the factual findings of the

        district court,” not its conclusions of law. 985 F.2d 129, 136 (4th Cir. 1992). As to

        willfulness specifically, the Martin appellants argued “that the district court’s

        conclusion [that the violation was willful] [was] based on an erroneous interpretation

        of the facts.” Id. The Martin Court acknowledged that the lower court “applied the

        correct legal standard” and focused its analysis on the sufficiency of the evidence.

        Id. Because the willfulness issue in Martin was primarily factual, the Martin Court

        correctly applied a clearly erroneous standard of review. Id.

              In Geico v. Calderon, the Fourth Circuit affirmed the lower court’s grant of

        summary judgment to the employer on the willfulness issue finding as a matter of

        law, that no reasonable fact finder could conclude that the employer’s conduct was

        knowingly incorrect or willful. 809 F.3d 111, 131 (4th Cir. 2015). So, while Geico

        seemingly cited Martin with approval, the Geico Court treated the issue as a mixed

        question of fact and law by granting summary judgment to the employer rather than




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        letting the matter to the trier of fact, the jury. Id. Thus, Geico supports Appellees’

        position, not Appellants.

        II.   APPELLANTS’ VIOLATION OF THE FLSA WAS WILLFUL UNDER
              THE STANDARD IN CHAO V. SELF PRIDE, AND THE DISTRICT
              COURT ERRED BY FAILING TO MAKE ANY FINDING ABOUT
              WHETHER DEVARIE’S UNDISPUTED KNOWLEDGE OF THE
              FLSA MET THE FIRST ELEMENT OF THE CHAO TEST

              Appellants argue that Chao supports their position, not that of Appellees. Doc.

        28 at 28-29. In Chao, the employees’ primary contention was that they were not paid

        for breaks or for time spent working if they did not call into the employer’s central

        line to report in while working. Chao, 232 F. App'x at 286. The lower court in Chao

        found the employer’s actions did not rise to the level of willful, despite the employer

        being notified by the Department of Labor that it was violating the FLSA. Id. The

        Chao trial court granted partial summary judgment for the employees on the issue

        of liability and liquidated damages. Id. at 283. Following a bench trial, the district

        court found that the employer did not act willfully. Id. The employer appealed, and

        this Court affirmed. Id. The Court observed that although the DOL investigator had

        informed the employer that it was violating the FLSA by failing to pay employees

        for breaks; the investigator never followed up and never informed the owners of the

        specific provisions that were violated or how the violations could be corrected. Id.

        at 286. As such the trial court in Chao found, as a fact, that the employer did not



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        have notice of the requirements of the FLSA at the time of the violations and the

        appellate court affirmed. Id.

              Appellants suggest that their conduct was “less reckless” than that of the Chao

        employer because Devarie never had notice that EMD’s pay practices may violate

        the FLSA. Doc. 28 at 29. This argument is unavailing because actual notice is not

        required for a finding of willfulness and Chao does not stand for such a proposition.

        The trial court in Chao found that the notice to the employer was insufficient to

        support a willful violation because the notice did not identify which provisions of

        the FLSA were being violated and did not provide examples of the violations or how

        they could be cured. Chao 232 F. App'x at 282.

              While the principles of Chao apply in this case, there are two reasons why

        Chao is distinguishable. First, in Chao, unlike in this case, the district court made

        findings of fact on the notice issue (it found that that the Secretary of Labor failed to

        demonstrate that the employer had notice of the “general requirements of the

        FLSA”). Id. at 286. In this case, the trial court made no findings of fact on the issue,

        despite the strong evidence that Appellants were aware of the general requirements

        of the FLSA. A1594-151598. That alone constitutes legal error. See United States v.

        Buchanan, 933 F.3d 501, 504 (6th Cir. 2019) (“if the district court failed to make

        a factual finding on a required element, the appellate court has no facts to review,

        and remand is the appropriate course of action”); Samuel J. Creswell Iron Works,


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        Inc. v. Hous. Auth. of Camden, 449 F.2d 557, 561 (3d Cir. 1971) (remand required

        where trial court did not make a finding as to a necessary element of the case);

        Portillo v. Cunningham, 872 F.3d 728, 742 (5th Cir. 2017) (award of attorneys’ fees

        vacated and case remanded where trial court did not make the necessary factual

        finding to support the award). Second, the issue of whether breaks constitute work

        time, is very different from the issue of whether Appellees were exempt outside

        salespersons, an issue that Appellants were fully aware of since at near the time

        EMD began operating. A638:1-11.

              Moreover, the trial court in Chao emphasized that the employer never

        received any written information or guidance about the FLSA. See Chao v. Self

        Pride, Inc., No. RDB 03-3409, 2006 U.S. Dist. LEXIS 18865, at *6 (D. Md. 2006).

        In contrast, Devarie admitted to knowing about the outside sales exemption

        specifically, and that its applicability turned on an analysis of the employees’ duties.

        EMD’s own handbook, which Devarie helped draft, said as much. 1253. She also

        testified that she received and reviewed written guidance about the exemption from

        the Department of Labor, and that she went as far as to consult a checklist about the

        exemption. A638:4-9, A643:2-6, A646:8-12. Therefore, Devarie was far more

        informed than the Chao defendant about the FLSA, and the Trial Court should have

        found the notice element of the Chao test satisfied because the facts supporting




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        notice were undisputed. Yet, the Trial Court made no factual finding on this point

        and nonetheless concluded the violation was not willful, which was reversible error.

               The fact that Appellants did not receive express notice of a violation is also

        not dispositive of the willfulness issue. Not every willful violation requires express

        notice to the employer that its pay practices violate the FLSA. Such notice, along

        with other circumstances, may be sufficient to establish willfulness but it is not

        necessary. Indeed, the Chao Court held that an employer can be put on “constructive

        notice” of a possible violation if it acts recklessly or deliberately in failing to learn

        of its legal obligations. Chao, 232 F. App'x at 287.

              Decisions from other Circuits demonstrate that an employer’s failure to

        undertake a further inquiry into what the FLSA requires, irrespective of whether they

        are on notice of a possible FLSA violation, is reckless conduct which gives rise to a

        willful, as opposed to merely a negligent violation. In Morgan v. Family Dollar

        Stores, the Eleventh Circuit, relying on Richland Shoe Co., and guidance in 5 §

        C.F.R. 551.104, upheld a jury’s finding of willfulness based on facts like those this

        case. 551 F.3d 1233, 1280 (11th Cir. 2008). Like Devarie, the Family Dollar

        executives “never studied whether the store managers [the plaintiffs] were exempt

        executives,” “made no inquiry into how many hours a week [they] actually worked”,

        and blindly adhered to a policy classifying the store managers as exempt despite not

        knowing how or why the policy came about. Id. Family Dollar simply classified all


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        store managers as exempt “without ever determining how [they] spent their time.”

        Id. The Family Dollar executives knew about FLSA and the exemption (the

        executive exemption at issue in that case) yet took no action to determine whether

        the duties store managers performed made them exempt. Id.

              In Flores v. City of San Gabriel, the Ninth Circuit similarly held that “[a]n

        employer's violation of the FLSA is willful when it is on notice of its FLSA

        requirements, yet [takes] no affirmative action to assure compliance with them.” 824

        F.3d 890, 906 (9th Cir. 2016). Like Appellants, the Flores employer/defendant (City

        of San Gabriel or the “City”), was indisputably on notice about the FLSA, its

        knowledge arising not from a prior violation but because the City set up its pay

        practices with references to specific provisions of the FSLA. Id. Yet, the City failed

        to investigate whether its exclusion of certain payments to employees from the

        regular rate of pay complied with the FLSA. Id. The trial court found the violation

        willful, and the Ninth Circuit affirmed, noting that the City had put forward no

        evidence of any actions it took to determine whether its pay practices complied with

        the act despite knowing which specific provisions were at issue. Id. at 907. The

        Flores Court also held that “[a]n employer need not violate the statute knowingly

        for its violation to be considered ‘willful’ under § 255(a).” Id. at 906.

              In an earlier case from the Second Circuit, Herman v. RSR Sec. Servs., the

        Court affirmed a trial court’s finding of willfulness where the employer, despite


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        having knowledge of the FLSA and its requirements, made no effort to ascertain its

        compliance with those requirements. 172 F.3d 132, 141 (2d Cir. 1999). In Herman,

        the individual defendant had in-depth knowledge of the FLSA. Id. The trial court

        held that considering this knowledge, he should have investigated whether the

        company’s pay practices were FLSA compliant when he discovered, and corrected,

        an illegal accounting practice at the company (an instance of certain employees

        being incorrectly identified as independent contractors on 1099 forms). Id. The

        Second Circuit affirmed, holding that actual knowledge of the FLSA violations at

        issue was not a prerequisite to finding willfulness because the individual defendant

        recklessly disregarded the possibility that a violation existed. Id.

              Like the defendants in Herman, Flores and Morgan, Devarie’s inexplicable

        failure to investigate the actual daily tasks of the sales representatives, despite her

        knowledge of the FLSA, the outside sales exemption, and that exempt status

        depended on an assessment of each employee’s specific duties (A1253), amounts to

        a willful violation. Based on this evidence, the Trial Court correctly concluded that

        Devarie’s failure to investigate sales representatives’ duties was “unreasonable”

        because without such information, Devarie lacked objectively reasonable grounds

        for believing Appellees were exempt. A1607-1608. Thus, the second element of

        Chao’s willfulness test (choosing to remain ignorant of the FLSA’s legal

        requirements) was satisfied. Yet, the Trial Court made no findings of fact as to


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        whether Devarie had the requisite knowledge, i.e. knowledge of the “existence and

        general requirements of the FLSA,” to satisfy the first element of Chao’s willfulness

        test. A1593-1609. This was reversible error because had the Trial Court done so, it

        would have found both elements met since Devarie admitted her knowledge of the

        FLSA went far beyond merely knowing it existed and its “general requirements.”

        Accordingly, the Trial Court’s failure to make a finding on this issue was error.

               Devarie’s own testimony proved that she knew more about the FLSA than the

        Chao employer and the fact that she failed to consult with the professionals who

        were at her disposal, proves that she deliberately or recklessly chose not to ascertain

        Appellants’ obligations under the FLSA, which is a willful violation.

        III.   ALTERNATIVELY, TO THE EXTENT THE TRIAL COURT’S
               CONCLUSION THAT DEVARIE WAS CREDIBLY UNINFORMED
               ON THE TOPIC OF HOW FLSA APPLIES TO HER BUSINESS WAS
               A FACTUAL FINDING AS TO THE FIRST CHAO ELEMENT, IT
               WAS CLEARLY ERRONEOUS

               In their brief-in-chief, Appellees argued in the alternative that the Trial

        Court’s conclusion that Appellants did not act willfully was clearly erroneous. In

        response, Appellants argue that the Trial Court’s conclusion should not be disturbed

        because there is “ample factual support” in the record that Appellants’ violation of

        the FLSA did not rise to the level of a willful violation. Specifically, Appellants first

        point out that Devarie negotiated a collective bargaining agreement while

        represented by experienced labor counsel, who never alerted her to any FLSA


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        violation. Doc. 28 at 30-31. But this fact is largely neutralized because Devarie never

        investigated the duties of the sales representatives and therefore could not convey

        the necessary information to her counsel to enable him to identify any possible

        violation.

              Next, Appellants argue the Trial Court’s conclusion that Devarie was

        “credibly uninformed” about how FLSA applied to her business is a factual finding

        as to her level of knowledge, which precludes a finding of willfulness. However,

        even a factual finding may be disturbed by the appellate court where its inconsistent

        with or otherwise contradicts the record. First Nat'l Bank v. Fockler, 649 F.2d 213,

        216 (4th Cir. 1981) (remanding case where the uncontroverted record specifically

        contradicted the findings of the trial court); Worthy v. Biggers Bros., Inc., Nos. 86-

        1682, 86-1683, 1988 U.S. App. LEXIS 19582, at *4 (4th Cir. 1988) (clearly

        erroneous standard may be met where trial court’s findings are based on “internally

        inconsistent” or “implausible” evidence.)

              The Trial Court’s conclusion on this point makes no sense considering

        Devarie’s testimony that she knew about the FLSA at or near the time she started

        her business, knew it required payment of overtime and knew about the outside sales

        exemption and that its application turned on an analysis of the employee’s duties.

        Because the Trial Court’s finding is contradicted by Devarie’s own testimony that




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        she was, at a minimum, informed generally about FLSA and its requirements, (which

        is all Chao requires) it was clearly erroneous and subject to reversal.

              Finally, Appellants attempt to negate other evidence of a willful violation

        (complaints by one of the Appellees about pay practices and pay practices vis-à-vis

        non-exempt merchandisers), which was before the Trial Court but not expressly

        considered by it. Doc. 28 at 31. As to the complaints by Mr. Carrera about EMD’s

        pay practices, Appellants argue this was a disputed fact which the Trial Court did

        not resolve in favor of either party. With respect to Appellants’ treatment of

        merchandisers as exempt despite the fact they performed no exempt duties,

        Appellants similarly argue that since this fact was not mentioned by the Trial Court,

        there is no way to say for certain how much weight, if any, the Trial Court ascribed

        to it. Both facts are relevant to and may be dispositive of whether Devarie had a

        willful state of mind when she chose to treat sales representative as exempt. The

        existence of these facts and the Trial Court’s failure to consider them as evidence of

        willfulness in its ruling, underscore Appellees’ position that the Trial Court’s ruling

        as to willfulness was clearly erroneous, against the weight of the evidence and

        subject to reversal by this Court.




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                                        CONCLUSION

              For the foregoing reasons, the Court should reverse the Trial court’s finding

        that the Appellants’ violation of the FLSA was not willful and remand this case to

        the Trial court to issue a new damages’ ruling consistent with a finding of

        willfulness.

                                              Respectfully Submitted,


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                                              /s/Andrew Balashov
                                              Andrew Balashov
                                              Attorney for Appellees
                                              Dated: June 13, 2022




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